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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 DOS BOWIES LP, et al.,                                       :
                                              Plaintiff,      :
                                                              :        20 Civ. 2479 (LGS)
                            -against-                         :
                                                              :     DEFAULT JUDGMENT
 MICHAEL ACKERMAN, et al.,                                    :
                                              Defendants. :
                                                              :
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                                                              X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Order, dated June 26, 2020, directed Defendant Michael Ackerman to

appear show cause as to why an order should not issue pursuant to Federal Rules of Civil

Procedure Rule 55(b)(2) entering a default judgment against him for failing to appear or file any

responsive pleading in this matter. (Dkt. No. 36). On July 13, 2020, Ackerman was served with

the June 26, 2020, Order. (Dkt. No. 39). On July 23, 2020, Ackerman appeared pro se at a show

cause hearing. The Order, dated July 24, 2020, directed Ackerman to submit a letter to the Court

by August 6, 2020, stating his intent to participate in this matter. (Dkt. No. 41). The Order

stated that if Ackerman did not submit such letter, the Court would enter default judgment

against him.

        WHEREAS, Ackerman did not submit such letter. It is hereby

        ORDERED that judgment by default is entered against Defendant Ackerman as to

liability only. Any determination of damages shall await resolution of the claims against

Defendants Quan Tran and James Seijas.



Dated: September 28, 2020
       New York, New York
